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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 NORTHERN DIVISION
                                    AT COVINGTON

  NICHOLAS SANDMANN, by and                      :     CASE NO. 2:20-CV-00025-WOB-CJS
  through his parents and natural guardians,     :
  TED SANDMANN and JULIE                         :     Judge William O. Bertelsman
  SANDMANN,                                      :
                                                 :     Magistrate Judge Candace J. Smith
         Plaintiff,                              :
                                                 :
  v.                                             :
                                                 :
  ABC NEWS, INC., ABC NEWS                       :
  INTERACTIVE, INC., and THE WALT                :
  DISNEY COMPANY,                                :
                                                 :
         Defendants.
                                                 :

               ABC DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT
                         ORAL ARGUMENT REQUESTED

        Defendants ABC News, Inc., ABC News Interactive, Inc., and The Walt Disney Company

 (“ABC Defendants”), by counsel and pursuant to Fed. R. Civ. P. 56, respectfully move this Court

 for summary judgment and dismissal of Plaintiff’s Complaint with prejudice. Summary judgment

 is warranted because (1) the allegedly defamatory statements at issue are protected opinion; (2)

 alternatively, Plaintiff cannot meet his burden of proving the statements at issue to be materially

 false; and (3) the statements at issue are not susceptible to the defamatory meaning the Complaint

 alleges. This motion is supported by the attached Joint Memorandum of Law in support, ABC

 Defendants’ Supplemental Memorandum of Law in support, and declarations and exhibits thereto.

        Pursuant to LR 7.1(f), ABC Defendants further request that the Court schedule oral

 argument on this motion at the Court’s convenience.



 DATED: December 20, 2021                      Respectfully submitted,

                                               /s/ Robert B. Craig


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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the 20th day of December, 2021, the foregoing was filed

 electronically through the Court’s CM/ECF system. Notice of this filing will be sent by operation

 of the Court’s CM/EF system to all parties of record. The conventionally filed exhibits will be

 served by overnight mail to the following counsel of record:


 Todd V. McMurtry
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                                                     /s/ Robert B. Craig
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